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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


    JOHN DOE,                                    )
                                                 )
                                Plaintiff,       )
                                                 )
                        vs.                      ) No. 1:16-cv-1266-TWP-DML
                                                 )
    BUTLER UNIVERSITY, et al.,                   )
                                                 )
                                Defendants.      )


               Order on Plaintiff’s Motion to Continue Proceeding
                            Anonymously (Dkt. 62)

        The plaintiff, a former student at Butler University, claims that he and

  another Butler student identified as defendant Jane Smith (a pseudonym) engaged

  in consensual sexual activity. Jane Smith had complained that the plaintiff raped

  her, and thus accused him of non-consensual sexual activity. Butler conducted an

  investigation and grievance proceeding into the matter. A grievance panel

  concluded that the plaintiff had engaged in non-consensual sexual contact with

  Jane Smith and recommended his dismissal from the university. The plaintiff was

  then expelled from Butler.

        The plaintiff brought this action, alleging that Butler and several individual

  Butler defendants discriminated against him based on his sex and race in violation

  of Title IX and Section 1981. He also alleges state law claims including defamation

  against Butler, and both intentional infliction of emotional distress and negligent

  infliction of emotional distress against all the defendants.
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        Shortly after filing the complaint, the plaintiff moved for an ex parte order

  allowing him to prosecute his case under a pseudonym. The motion was granted.

  (Dkt. 8) The magistrate judge ordered that the plaintiff could proceed as “John

  Doe” and sua sponte ordered that the complaining student should also be allowed to

  proceed anonymously. At that point, no defendant had had an opportunity to object,

  the complaining student had not herself requested anonymity, and the court had

  not had the opportunity to address the issue in an adversarial context (all because

  the defendants had not yet been served with the complaint).

        Therefore, after all parties had appeared, the court advised the plaintiff and

  Jane Smith that if they desired to continue to proceed anonymously, they must file

  motions. Both the plaintiff and Jane Smith did so. Since those filings, the claims of

  John Doe and Jane Smith against one another have been voluntarily dismissed

  (Dkt. 107), rendering Jane Smith’s motion to continue proceeding anonymously

  moot.1 Butler and the individually named Butler defendants (hereafter collectively,

  the “Butler Defendants”) have filed an opposition to the plaintiff’s motion to

  continue to proceed anonymously. The plaintiff filed a reply in further support of

  his request.

                                        Analysis

        This court agrees with the Butler Defendants that the frequency with which

  challenges to university disciplinary actions arising from sexual misconduct




  1      Her motion, at Dkt. 61, is therefore denied as moot, leaving in place the
  court’s earlier order that directs her anonymity. (Dkt. 8)
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  allegations are being filed in the federal courts requires a careful consideration of

  whether the individual parties should be permitted to proceed anonymously. Too

  frequently, courts have reflexively granted such requests—which more often than

  not are unopposed—upon a recitation that the case involves “private sexual

  matters,” without a careful examination of the policies and factors that ought to

  guide the determination.

        And the first, most important of those policies is that federal litigation is to

  be conducted in public. The Federal Rules of Civil Procedure require that all

  parties to a lawsuit be named. See Fed. R. Civ. P. 10(a) (providing that the “title of

  the complaint must name all the parties”); Fed. R. Civ. P. 17(a)(1) (requiring that an

  action be prosecuted in the name of the real party in interest). These rules advance

  the public interest of having open judicial proceedings. Doe v. Blue Cross & Blue

  Shield United of Wisconsin, 112 F.3d 869, 872 (7th Cir. 1997). The Seventh Circuit

  has repeatedly emphasized that it disfavors anonymous litigation because it

  conflicts with “the rights of the public to have open judicial proceedings and to know

  who is using court facilities and procedures funded by public taxes.” Doe v. Village

  of Deerfield, 819 F.3d 372, 376–77 (7th Cir. 2016). To proceed anonymously, a party

  must show “‘exceptional circumstances’ that outweigh both the public policy in favor

  of identified parties and the prejudice to the opposing party that would result from

  anonymity.” Id. at 377. A request to proceed anonymously should not be

  automatically granted even if it isn’t opposed. Blue Cross, 112 F.3d at 872. In all




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  cases, the judge has an independent duty to determine whether the party seeking

  anonymity has shown exceptional circumstances that warrant anonymity. See id.

        In deciding whether a party should be allowed to proceed anonymously,

  courts in the Seventh Circuit consider several factors, including:


        (1) whether the [party] is challenging governmental activity; (2) whether
        the [party] would be required to disclose information of the utmost
        intimacy; (3) whether the [party] would be compelled to admit his or her
        intention to engage in illegal conduct, thereby risking criminal
        prosecution; (4) whether the [party] would risk suffering injury if
        identified; and (5) whether the party defending against a suit brought
        under a pseudonym would be prejudiced.


  Doe v. Trustees of Indiana University., No. 1:12-cv-1593-JMS-DKL, 2013 WL

  3353944, at *3 (S.D. Ind. July 3, 2013) (quoting Doe v. Indiana Black Expo, Inc., 923

  F. Supp. 137, 140 (S.D. Ind. 1996)). Other factors include “whether the interests of

  children are at stake” and “whether there are less drastic means of protecting

  legitimate interests,” 923 F. Supp. at 140. The Seventh Circuit has specifically

  noted that parties are allowed to proceed under fictitious names in some situations,

  including where necessary to protect the privacy of “children, rape victims, and

  other particularly vulnerable parties or witnesses.” See, e.g., Village of Deerfield,

  819 F.3d at 377.

        The plaintiff argues that his interest in privacy outweighs the public interest

  in disclosure of his name. He also relies on the fact that the court previously

  ordered that he may proceed anonymously, arguing there is no reason to reverse

  that decision. But that alone is not enough to justify anonymity going forward. The

  court’s order allowing him to proceed as John Doe was entered early in the case to

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  preserve his anonymous status pending appearances by the defendants, and

  without the benefit of adversarial presentations on the issue. In opposing the

  plaintiff’s motion, the Butler Defendants argue that the plaintiff has not shown that

  this is one of those exceptional circumstances in which he should be permitted to

  proceed anonymously. The court agrees.

        The plaintiff concedes that the first factor weighs against anonymity because

  he is not challenging actions by a governmental entity. He also concedes that the

  third factor is neutral at best, or weighs against anonymity, because this action

  does not require him to disclose an intention to engage in illegal conduct. However,

  he argues that this action requires the disclosure of “information of the utmost

  intimacy,” namely information about the intimate and sexual activity of himself and

  the complaining female student. Some courts have accepted that information about

  sexual misconduct is information of the utmost intimacy. See, e.g., Doe v. Purdue

  University, 321 F.R.D. 339, 342 (N.D. Ind. 2017) (citing several cases from different

  jurisdictions and concluding that information about a sexual relationship,

  allegations of sexual misconduct, and details of the university’s findings was of “the

  utmost intimacy”), appeal filed, No. 17-3565 (7th Cir. Dec. 18 2017). However, the

  Seventh Circuit has never recognized that as the basis for anonymity. See, e.g.,

  Village of Deerfield, 819 F.3d at 377 (recognizing that use of a fictitious party name

  is warranted in some situations, and identifying those in which it is necessary to

  protect the identities of “children, rape victims, and other particularly vulnerable

  parties”) (quoting Blue Cross, 112 F.3d at 872)). Even assuming a recent trend in



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  federal district courts of favoring anonymity in cases involving student-university-

  sexual misconduct matters, this court must look to Seventh Circuit case law.

        The plaintiff’s complaint alleges that he has suffered emotional harm and

  distress, and he argues that publicly disclosing his name will cause him additional

  emotional harm and suffering. As a preliminary matter, he has not offered any

  evidence that the harm from publicly revisiting the allegedly false accusations and

  the disciplinary proceedings would cause him harm. He asks the court to assume it.

  Beyond that, courts that address this issue typically do so with a view toward the

  plaintiff’s allegations, and here, the plaintiff alleges that he had consensual sex

  with another student. That is simply not the sort of allegation that merits the

  extraordinary treatment of anonymity. Indeed, in Village of Deerfield, 819 F.3d at

  377, the Seventh Circuit found that a plaintiff’s embarrassment even from engaging

  in immoral or irresponsible behavior (which plaintiff does not allege here) is

  insufficient to justify anonymity.

        Moreover, the court notes that to the extent the pleadings in this case divulge

  personal and intimate details, it was the choice of the plaintiff himself to inject that

  level of detail. The complaint includes detail well beyond what it is necessary to

  provide a “short and plain statement” of his claim. See Fed. R. Civ. P. 8(a)(2). His

  complaint also identified by actual name the student who made the complaint

  against him, and the court does not credit his explanation that he couldn’t figure

  out another way to do it. And the court further notes that the plaintiff chose in his

  complaint to identify by name—entirely gratuitously—another Butler student with



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  whom he allegedly had earlier had consensual sex. (See Dkt. 13, ¶¶ 22-23.) These

  choices betray his lack of concern for protecting the identity of individuals whose

  private, intimate information is disclosed in pleadings in federal court. At bottom,

  the court finds that the plaintiff has not demonstrated the sort of harm flowing from

  disclosure of his identity that merits the extraordinary measure of anonymity.

        The plaintiff also argues that there appears to be no prejudice to Butler or

  the individual Butler defendants. He focuses on Butler, asserting it has not

  identified any prejudice during the past year in which he has proceeded

  anonymously. He also argues that defendants know his actual identity and they

  have not identified any problems in conducting discovery or otherwise participating

  in this litigation if his name is not publicly disclosed. The Butler defendants

  counter that the individual defendants cannot publicly defend themselves against

  the plaintiff’s attack on their reputations and credibility. And they are right: the

  plaintiff claims they engaged in deliberate wrongdoing, including intentional

  discrimination against him because of his race and sex and intentional infliction of

  emotional distress. He also alleges that Butler defamed him. The defendants’

  reputations are at stake in this lawsuit as well, and they did not purposefully avail

  themselves of the courts. Instead, the plaintiff haled them into these public judicial

  proceedings. Under these circumstances, fairness favors disclosure of the plaintiff’s

  identity. See Doe v. Indiana Black Expo, 923 F. Supp. at 141-42 (concluding that

  where the plaintiff accuses the defendants of serious and deliberate wrongdoing and

  attacks their integrity and reputations, fairness mandates “he should stand behind



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  those accusations, and the defendants should be able to defend themselves publicly”

  and that the defendants “have a powerful interest in being able to respond publicly

  to defend their reputations” both in and out of court).

        The plaintiff also maintains that the public interest in open access to judicial

  proceedings is not furthered by disclosing his name, asserting he has not sought to

  file documents under seal in this case. Thus, he suggests that in seeking

  anonymity, he has chosen the least drastic means of protecting his privacy yet

  allowing public access. The Seventh Circuit has repeatedly stated that the public

  has an interest in knowing who is using the courts. See, e.g., Village of Deerfield,

  819 F.3d at 377; Doe v. City of Chicago, 360 F.3d 667, 669 (7th Cir. 2004) (“The

  concealment of a party’s name impedes public access to the facts of the case….”). In

  the Seventh Circuit, anonymity is a “drastic” measure.

        This court has carefully considered, as the plaintiff requested, the decision in

  Doe v. Purdue, a case arising from a similar factual situation, where the court

  allowed the plaintiff to proceed anonymously. However, the court finds the decision

  unpersuasive. First, the plaintiff sued Purdue University, a state university, and

  he challenged governmental activity, which favored his request to proceed

  anonymously. Purdue, 321 F.R.D. at 341-42. That is not the case here. Second, the

  defendants in that case did not argue they would be prejudiced if the plaintiff were

  allowed to proceed anonymously. Id. at 343. That is not the case here: the Butler

  defendants assert prejudice. Moreover, the decision does not reflect that the court




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  considered whether the case fell within the limited types of situations in which the

  Seventh Circuit allows a party to proceed anonymously.

        The plaintiff has availed himself of the public forum of a federal court to

  make allegations against a private entity and private individuals and to seek money

  damages from them. He has not shown that exceptional circumstances outweigh

  the public’s interest in knowing who is using the courts and the prejudice to the

  defendants that may result from his continued anonymity. Therefore, the court in

  its discretion finds that his motion to continue to proceed anonymously should be

  denied.

        In order to allow the plaintiff sufficient time within which to determine an

  appropriate course of action in light of this decision, see Village of Deerfield, 819

  F.3d at 376 (denial of a motion for leave to proceed anonymously is immediately

  appealable), the court will stay this order directing that all public filings use his

  true name.

                                        Conclusion

        The plaintiff’s motion to continue proceeding anonymously (Dkt. 62) is

  DENIED. The court stays for thirty days its order directing that all future public

  filings use the plaintiff’s true name. Therefore, until the court lifts that stay, all

  public filings shall continue to refer to the plaintiff as John Doe.

         So ORDERED.
                                               ____________________________________
         Date: 1/8/2018
                                                  Debra McVicker Lynch
                                                  United States Magistrate Judge
                                                  Southern District of Indiana


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